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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & FOR COURT USE ONLY
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IX Individual appearing without attorney

f

Attorney for:
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
In re: CASE NO.: 6:25-BK-10054-SY
GUY SCOTT GRIFFITHE

CHAPTER 13

DEBTOR’S MOTION FOR VOLUNTARY
DISMISSAL OF CHAPTER 13 CASE

[No Hearing Required]

Debtor(s).

Debtor moves this court for an order dismissing the above-entitled bankruptcy case pursuant to 11 U.S.C. § 1307(b) and
LBR 3015-1(q)(1):

i (a) The above-entitled case was commenced by the filing of a voluntary petition under chapter 13 and has not
been converted under 11 U.S.C. §§ 706, 1112, or 1208:

OR

[-] (b) The above-entitled case was commenced by the filing of a voluntary petition under chapter and was
converted to a case under chapter 13 on

2. C] (a) There is no motion for relief from, annulment of, or conditioning of the automatic stay pending in this case and
no such motions have been filed in this case.

OR

el (b) The following motion for relief from, annulment of, or conditioning of the automatic stay is currently pending in
this case OR was filed and resolved OR has been withdrawn or denied:

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Filing Date:
Movant:
Personal or Real Property:

Status: [-] Pending [] Resolved [_] Withdrawn/Denied
(Please attach additional pages if needed.)

3. [[] (a) Debtor has made no arrangements or agreements with any creditor or other person in connection with this
request for dismissal.

OR
(b) Debtor has made the following arrangements or agreements with the creditor(s) or other person(s) identified

below in connection with this request for dismissal:
ebto riv with len imary resi e.

(Please atiach additional pages if needed.)

(Please attach additional pages if needed.)

Date:

Attorney for Debtor

oe g is true and correct.

| declare under penalty of perjury under the laws of the United St

Date: 01/28/2025

Date:

Joint Debtor

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
29991 Canyon Hills Rd. Lake Elsinore, CA 92532

A true and correct copy of the foregoing document entitled: DEBTOR’S MOTION FOR VOLUNTARY DISMISSAL OF
CHAPTER 13 CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/28/2025 _, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Rod Danieilson (TR) notice-efile@rodan13.com
United States Trustee ustpregion16.rs.ecf@usdoj.gov

] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) , | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

C] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed.

[-] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/28/2025 _ Valerie Griffithe L ai ak

Date Printed Name Signature

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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